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                    EXHIBIT 4
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                LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT
                   (11610 W. 135th Street, Olathe, KS Store No. 51009)
                                                            -




                THIS LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT (this
“Agreement”) is made by and among APPLEBEE’S RESTAURANTS KANSAS LLC, a
Kansas limited liability company, APPLEBEE’S RESTAURANTS MID-ATLANTIC LLC, a
Delaware limited liability company, APPLEBEE’S RESTAURANTS NORTH LLC, a
Delaware limited liability company, APPLEBEE’S RESTAURANTS TEXAS LLC, a Texas
limited liability company, and APPLEBEE’S RESTAURANTS WEST LLC, a Delaware
limited liability company (collectively, “Assignor”), and APPLE CENTRAL KC, LLC, a
Kansas limited liability company (“Assignee”) as of this 23rd day of July, 2015, with an
“Effective Date” as set forth below.

                                       WITNESSETH:

               WHEREAS, Assignor is the tenant under that certain lease agreement described
on Schedule I attached hereto and incorporated by reference herein (collectively, as amended,
modified and/or assigned from time to time, the “Lease”) regarding the premises identified on
Schedule I (the “Premises”); and
               WHEREAS, Assignor desires to assign its interest in the Lease to Assignee, and
Assignee desires to accept such assignment and to assume and agree to perform and fulfill all of
the terms, obligations and conditions imposed on Assignor by the Lease, subject to the terms
hereof.
             NOW, THEREFORE, in consideration of the mutual promises hereinafter
contained and for other good and valuable consideration, receipt of which is hereby
acknowledged, the partiesagree as follows:
                 1.    Assignment and Term. Assignor hereby assigns, transfers and conveys to
Assignee  all of Assignor’s rights, title, and interest in and to the Lease and the Premises as of the
Effective Date (defined below), for the balance of the respective term (including any extensions
and renewals thereof) of the Lease, including but not limited to all rights related to options to
purchase and options to terminate, renew or extend the term.

              2.     Possession and Effective Date. Assignee shall take possession of the
Premises and this Agreement shall be and become effective as of July 23, 2015 (the “Effective
Date”).

                3.      Assumption; Use of the Premises.          Assignee hereby accepts said
assignment, transfer and conveyance and assumes all obligations of Assignor under the Lease
arising on or after the Effective Date of this Agreement, including but not limited to payment of
all rent and other sums due by Assignor under the Lease and performance of all obligations,
duties and responsibilities of Assignor under the Lease. Assignee hereby covenants and agrees
for the benefit of Assignor and the landlord under the Lease that Assignee will keep, perform and
be bound by all of the terms, covenants and conditions required to be performed by Assignor
under the Lease from and after the Effective Date. Assignee agrees that it will use the Premises
for a “Permitted Use” under the terms of the Lease. Assignor and Assignee acknowledge and

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agree to their respective indemnification obligations set forth in Article VI of that certain Asset
Purchase Agreement between Assignor, Assignee and certain other parties dated April 20, 2015.

                4.     Notices. Assignee covenants and agrees to notify the landlord that the
tenant’s notice address under the lease shall include a duplicate copy to Assignor unless and until
the Assignor has been released from liability under such Lease. All notices to either party shall
be deemed given when sent by hand delivery, certified mail (return receipt requested), or
overnight delivery service, confirmed, to the appropriate party at the addresses set forth below,
or to such other address as may be designated in writing, from time to time, by the party.

                5.    Governing Law. As to the Lease set forth on Schedule I, this Agreement
shall be governed by and construed in accordance with the laws of the State which is the
applicable governing law pursuant to the terms of such Lease, without giving any effect to choice
of law rules thereof.

                6.       Binding on Successors and Assigns. This Agreement shall be binding
upon, and shall inure to the benefit of, the respective successors and assigns of the parties hereto,
subject to all restrictions contained in the Lease with respect to assignment, subletting or other
transfer.

                7.      Entire Agreement: No Amendments. The agreements contained herein
constitute the entire understanding between the parties with respect to the subject matter hereof.
No amendment or modification of this Agreement will be effective unless in writing, executed
by all of the parties hereto.

               8.     Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed to be an original
and all of which counterparts taken together shall constitute but one and the same instrument.




                                 [Signatures on Following Pages]




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                IN WITNESS WHEREOF, the parties have executed this Agreement as of the
date first above written, effective as of the Effective Date.


                                      ASSIGNOR:

Address for Notices to Assignor:     APPLEBEE’S RESTAURANTS KANSAS LLC, a
                                     Kansas limited liability company
450 N. Brand Blvd, 7th
                       Floor
Glendale, California 91203
Tel: (818) 637-3647                  APPLEBEE’S RESTAURANTS MID-ATLANTIC
Fax: (818) 637-5362                  LLC, a Delaware limited liability company
E-mail:
Nedra.AustinDineEquity.com
Attn: Real Estate Counsel            APPLEBEE’S RESTAURANTS NORTH LLC, a
                                     Delaware limited liability company


                                     APPLEBEE’S RESTAURANTS TEXAS LLC, a
                                     Texas limited liability company


                                     APPLEBEE’S RESTAURANTS WEST LLC, a
                                     Delaware limited liability company

                                     By: Applebee’s Services, Inc., their authorized agent




                                     Name: tev       La
                                                      .



                                     Title: resident




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Address for Notices to Assignee:     ASSIGNEE:

9 Greenwich Office Park, 2’’ Floor   APPLE CENTRAL KC, LLC
Greenwich, CT 06831
Tel:   (203) 992-1717                By: American Franchise Capital III, LLC,
Fax: (203)661-9462                       its Sole Member
Email: bgeorgasafcbrands.com
       tganshawafcbrands.com
Attn: Mr. William J. Georgas and
           Mr.   Trevor   Ganshaw    By:




                                     Name: William J Georgas
                                     Title: Manager



                                     By:
                                     Name: Trevor Ganshaw
                                     Title: Manager




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                                        SCHEDULE!

                                      Lease and Premises


Lease:

1.       Land and Building Lease dated April 1, 2011 between Three Bees, LLC, a Missouri
limited liability company as the Landlord and Applebee’s Restaurants Kansas LLC, a Kansas
limited liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited
liability company, Applebee’s Restaurants North LLC, a Delaware limited liability company,
Applebee’s Restaurants Texas LLC, a Texas limited liability company, and Applebee’s
Restaurants West LLC, a Delaware limited liability company, collectively as the Tenant.

2.      Guaranty dated April 1, 2011 by and between Applebee’s Enterprises, LLC, a Delaware
limited liability company, Applebee’s Franchising, LLC, a Delaware limited liability company,
Applebee’s IP LLC, a Delaware limited liability company and Applebee’s Holdings, LLC, a
Delaware limited liability company, collectively as the Guarantor and Three Bees, LLC, a
Missouri limited liability company as the Landlord.

3.       Subordination Agreement, Acknowledgment of Lease Assignment, Attornment and Non-
Disturbance Agreement dated April 1, 2011 by and between Three Bees, LLC, a Missouri
limited liability company as Owner/Lessor, Applebee’s Restaurants Kansas LLC, a Kansas
limited liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited
liability company, Applebee’s Restaurants North LLC, a Delaware limited liability company,
Applebee’s Restaurants Texas LLC, a Texas limited liability company, and Applebee’s
Restaurants West LLC, a Delaware limited liability company, collectively as Lessee and The
Ohio National Life Insurance Company as Lender recorded with the Johnson County, Kansas
Register of Deeds on April 13, 2011 in Book 201104, Page 003077.

4.       Memorandum of Lease dated April 1, 2011 by and between Three Bees, LLC, a Missouri
limited liability company as Landlord and Applebee’s Restaurants Kansas LLC, a Kansas limited
liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited liability
company, Applebee’s Restaurants North LLC, a Delaware limited liability company, Applebee’s
Restaurants Texas LLC, a Texas limited liability company, and Applebee’s Restaurants West
LLC, a Delaware limited liability company, collectively as Tenant recorded with the Johnson
County, Kansas Register of Deeds on April 13, 2011 in Book 201104, Page 003078.


Premises:     11610 W. 135th Street
              Olathe, KS
              Store No. 51009


Legal Description:   See Schedule II attached hereto



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                                       SCHEDULE II

                                      Legal Description



TRACT 1:

The leasehold estate created by that certain Lease Agreement, by and between Three Bees, LLC,
a Missouri limited liability company, as Landlord and Applebee’s Restaurants Kansas LLC, a
Kansas limited liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited
liability company, Applebee’s Restaurants North LLC, a Delaware limited liability company,
Applebee’s Restaurants Texas LLC, a Texas limited liability company and Applebee’s
Restaurants West LLC, a Delaware limited liability company, as Tenant, notice of which is given
by instrument filed April 13, 2011 in Book 201104, Page 003078, demising and leasing the
property for a term as set forth in said Lease Agreement, the following described premises, to
wit:

Lot 2, Hy-Vee, a subdivision in the City of Olathe, Johnson County, Kansas.


TRACT 2:

Access Easement granted in Declaration of Easement recorded in Volume 4501, Page 540.




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